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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE No.}
                                         18
                                           9·-
                                           u.s.c.
                                                  2Q 8 2 2Cfl·WJLL
                                                   § 242
                                         18 u.s.c. § 924(d)(1)

  UNITED STATES OF AMERICA,

         v.

  JESUS MANUEL MENOCAL, JR.,

         Defendant.
  ______________________________/
                                            INDICTMENT

         The Grand Jury charges that:

                                     GENERAL ALLEGATIONS

         At all times relevant to this Indictment:

             1.   Defendant JESUS MANUEL MENOCAL, JR. was employed as a Hial ah Police

  Department officer.

         2.       VICTIM 1 was a civilian living in Homestead, Florida, in the Southern       istrict of

  Florida.

         3.       VICTIM 2 was a civilian living in Hialeah, Florida, in the Southern         istrict of

  Florida.

                                            COUNT1
                   (Deprivation of Rights Under Color of Law: 18 U.S.C. § 242)

         1.       Paragraphs 1 and 2 of the General Allegations section of this Indictment ar realleged

  and incorporated as though fully set forth herein.
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        2.        On or about June 13, 2015, in Miami-Dade County, in the Southern            istrict of

 Florida, the defendant,

                                 JESUS MANUEL MENOCAL, JR.,

 while acting under color oflaw, willfully deprived VICTIM 1 of the right, secured and pr tected by

 the Constitution and laws of the United States, to be free from unreasonable searches an seizures

 by a person acting under color of law. In so doing, JESUS MANUEL MENOCAL,                     ., for his

 own sexual gratification, directed VICTIM 1 to remove her shorts and underwear and            around.

        It is further alleged that the offense included kidnapping, and the use and threate ed use of

 a dangerous weapon.

        All in violation of Title 18, United States Code, Section 242.

                                            COUNT2
                   (Deprivation of Rights Under Color of Law: 18 U.S.C. § 242)

         1.       Paragraphs 1 and 3 of the General Allegations section of this Indictment are realleged

 and incorporated as though fully set forth herein.

        2.        From on or about January 1, 2015, through on or about March 31, 2015, the exact

 date being unknown to the Grand Jury, in Miami-Dade County, in the Southern District o Florida,

 the defendant,

                                 JESUS MANUEL MENOCAL, JR.,

 while acting under color oflaw, willfully deprived VICTIM 2 ofthe right, secured and pr tected by

 the Constitution and laws of the United States, to be free from unreasonable searches an seizures

 by a person acting under color of law. In so doing, JESUS MANUEL MENOCAL, JR exposed

 his bare penis to VICTIM 2, placed her hand on his penis, and kissed her.

        It is further alleged that the offense included the use and threatened use of a angerous

 weapon.


                                                      2
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        All in violation of Title 18, United States Code, Section 242.

                                 FORFEITURE ALLEGATIONS

        1.      The allegations of this Indictment are hereby realleged and by this refer nee fully

 incorporated herein for the purpose of alleging forfeiture to the United States of America f certain

 property in which the defendant, JESUS MANUEL MENOCAL, JR., has an interest.

        2.      Upon conviction of any other criminal law of the United States, as alleg d in this

 Indictment, the defendant shall forfeit to the United States any firearm and ammunition i volved in

 or used in the commission of such offense, pursuant to Title 18, United States Cod , Section

 924(d)(1).

        All pursuant to Title 18, United States Code, Sections 924(d)(l) and the procedure set forth

 at Title 21, United States Code, Section 853, as incorporated by Title 28, United States Cod , Section

 2461(c).

                                                           A TRU




                                                           ERIC S. DREIBAND
                                                           ASSISTANT ATTORNEY GENE L
                                                           U.S. DEPARTMENT OF JUSTICE


  dli~
                                                           CIVI RIGHTS DIVISION

                                                       '           (/\/(____
 ILHAM A. HOSSEINI                              /SAMANTHA TREPEL
 ASSISTANT U.S. ATTORNEY                        ~TRIAL ATTORNEY



  EDWARDN. STAMM
  ASSISTANT U.S. ATTORNEY

                                                   3
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                          UNITED STATES      on FLSD
                                        DISTRICT     Docket 12/12/2019 Page 4 of 5
                                                 COURT
                                        SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                CASE NO.
                                                                   --------------------------~--------

vs.
                                                                    CERTIFICATE OF TRIAL ATT RNEY*
JESUS MANUEL MENOCAL, JR.,
      Defendant.
- - - - - - - - - - - - - - - - - - ' / Superseding Case Information:

Court Division:   (Select One)                    New Defendant(s)                     Yes   No
                                                  Number ofNew Defendants
_X_    Miami        _        Key West             Total number of counts
       FTL                   WPB          FTP
       I do hereby certify that:
       1.      I have carefully considered the allegations of the indictment, the number of defendan , the number
               of probable witnesses and the legal complexities of the Indictment/Information attach hereto.
       2.         I am aware that the information supplied on this statement will be relied upon by the udges of this
                  Court in setting their calendars and scheduling criminal trials under the mandate ofth Speedy Trial
                  Act, Title 28 U.S.C. Section 3161.
       3.         Interpreter:    (Yes or No)      No
                  List language and/or dialect
       4.         This case will take     6       days for the parties to try.
       5.         Please check appropriate category and type of offense listed below:
                  (Check only one)                                  (Check only one)
       I          0     to 5 days                                         Petty
       II         6     to 10 days                                 Minor
       III        11    to 20 days                                 Misdem.
       IV         21    to 60 days                                 Felony               X
       v          61    days and over
       6.       Has this case been previously filed in this I.)istrict Court? (Yes or No)    No
       If yes:
       Judge:                                             Case No.
       (Attach copy of dispositive order)
       Has a complaint been filed in this matter?         (Yes or No)         No
       If yes:
       Magistrate Case No.
       Related Miscellaneous numbers:
       Defendant(s) in federal custody as of
       Defendant( s) in state custody as of
       Rule 20 from the District of
       Is this a potential death penalty case? (Yes or No)              No
        7.        Does this case originate from a matter pending in the Northern Region of the U.S. Att mey's Office
                  prior to October 14, 2003?      Yes                No X
      8.          Does this case originate from a matter pending in the Central Region of the U.S. Att mey's Office
                  prior to September 1, 2007?     Yes               N o_X




*Penalty Sheet( s) attached                                                                                REV 4/8/08
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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                      PENALTY SHEET

 Defendant's Name:     JESUS MANUEL MENOCAL, JR.

 Case No:

 Count#: 1

 Deprivation of Rights Under Color of Law

 Title 18, United States Code, Section 242

 *Max. Penalty: Life Imprisonment

 Count#: 2

 Deprivation of Rights Under Color of Law

 Title 18, United States Code, Section 242

 *Max. Penalty: 10 Years' Imprisonment




   *Refers only to possible term of incarceration, does not include possible fines, resti1ution,
           special assessments, parole terms, or forfeitures that may be applicable.
